
LYONS, Judge,
delivered the resolution of the Court, to the following effect:
That, as to the first point relative to the demand and refusal, there was no room for exception upon that ground; because the defendant, by appearing and contesting the claim, had rendered it unnecessary that further proof, with -regard thereto, should be stated in the record. But, with *173respect to tlie second point, relative to the damages, the Court was clearly of opinion that the judgment, was erroneous; for, the .15 percent, damages are not given against an attorney by tlie act of Assembly, which merely relates to the notice and mode of conducting the cause, but does not create a penally. That, therefore, the judgment of the District Court was to he reversed, and judgment entered fbr the debt only. *

[* See act Feb. 18, 1819, c. 76, § 9, R. C. ed 1819, p. 269.]

